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                                                           Confidential Communication


             TO:              Oenga Heirs

             FROM:            Ray Givens�

              DATE:           August 15, 2011

              RE:             Settlement Document Issues


                    The purpose of this memo is to update the family on the progress of the
             Settlement Document preparation and to let you know of a troubling issue which has
             developed.

                      One Family Member Not Signing Settlement Documents -The Oil Companies
             are taking the position that it will not be acceptable if the Settlement Agreement and/or
             Lease Documents are signed by less than all heirs. In other words, there may not be a
             deal if any family member refuses to sign the Settlement Agreement and Lease
             documents.

                     Obviously, no one should sign any of the final documents until you have a chance
             to read and discuss the final documents. But Tony, I need to know now is 1) whether
             your general opposition was expressed by your vote on the Ballot and you intend to sign
             the Settlement Agreement and various Lease documents that implement the Term Sheet
             Agreement (as you signed the Short Term Raven Lease Amendment and the Contingent
             Fee Agreement Amendment), or 2) whether you intend to continue expressing your
             opposition by not signing any of the future documents.

                     I did explain to the Oil Companies and US lawyers the family's fonnal
             Agreement that a 7 5% vote would be controlling, but the Oil Companies still insist that
             the signatures ofall heirs be on all documents.

                     As to the 75% issue, the Oil Companies' said they often have similm· agreements
             that require approval ofless than all companies in a Unit to decide a position. In such
             situations, the objecting company's votes NO on the formal Ballot, but still signs all the
             later documents. The Oil Companies are similarly expecting the signatures of all heirs on
             the Settlement Agreement and Lease documents.




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                                                                                                                Exhibit P
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                    There is no way of knowing if this signature issue is an absolute deal breaker for
            the Oil Companies. Their stated position is that they fear the added risk of future trouble
            with or litigation by any family member who does not sign the Settlement Agreement or
            Leases. They say they have agreed to pay the money they are paying to eliminate this
            risk.

                   One thing is clear, however, - ifless than all family members sign the Settlement
            Agreement and Lease documents, it will definitely delay payment, probably for months.
            The reason is that even though the federal regulations do allow the BIA to approve
            Leases if less than all Allotment owners sign, there is a 3 month waiting period.

                     Furthermore, the lawyers at DOJ have said that they will not even submit the
            Settlement Agreement to their management for approval until all the Lease documents
            are finalized. This means that at best the lack of all signatures results in at least a 3
            month delay. Even if we were otherwise successful in convincing the Oil Companies to
            pay $650,000 in October, the 3 month delay of the BIA regulations would delay payment
            until at least December, and knowing how slow the BIA works, probably a few months
            after that.

                   As I go back and forth with the US and the Oil Companies over the wording in
            these documents, I need to know what the ultimate position will be on signing othe1wise
            acceptable Settlement Agreement and Lease documents.

                    Summary - Tony, if your "NO" vote on the Ballot is sufficient to express your
            opposition, but you intend to sign the Settlement Agreement and various Lease
            documents, I need to know that now so the documents can be prepared accordingly. But
            if your intent is to not sign a Settlement Agreement or Lease documents even if they
            adequately carry out the Term Sheet Agreement, I also need to know that right now.

                   I simply do not know if it would be possible to keep the settlement in place if all
            family members do not sign. Please let me lmow as soon as possible. The next call with
            the lawyers for the US and the Oil Companies to address this signature issue and
            document wording is this Thursday, August 18.




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                                                                                                                Exhibit P
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